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				IN RE AMENDMENT OF RULES FOR MANAGEMENT OF OKLA. COURT INFORMATION SYSTEM2014 OK 89Decided: 10/31/2014THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2014 OK 89, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



In re Amendment of the Rules for Management of the Oklahoma Court Information System.




ORDER


¶ 1 The following Rule 9 of the Rules for Management of the Oklahoma Court Information System is hereby adopted effective immediately.



Rule 9. Authorizing Access to Court Data

The Chief Justice or the Supreme Court, may authorize designated individuals to access court data and to use the Oklahoma Court Information System, in one or more district courts, or in the appellate courts, and assign appropriate security clearances to those individuals, to access court data and utilize the Oklahoma Court Information system to perform tasks approved by the Supreme Court.



This rule shall be codified as Rule 9 of the Rules for Management of the Oklahoma Court Information System, Okla. Stat. tit. 20, ch. 18, app. 2.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 23rd day of October, 2014.


/S/CHIEF JUSTICE



CONCUR: Colbert, C.J., Reif, V.C,J., Kauger, Watt, Winchester, Edmondson, Taylor, Gurich, JJ.

NOT VOTING: Combs, J.







	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
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	Title 20. Courts
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&nbsp;20 O.S. Rule 9, Authorizing Access to Court DataCited


	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
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	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
